 Case 19-32528-MBK              Doc 9 Filed 12/05/19 Entered 12/06/19 00:36:56                       Desc Imaged
                                    Certificate of Notice Page 1 of 3
Form oscmsdoc − oscmissdocv27

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                         Case No.: 19−32528−MBK
                                         Chapter: 11
                                         Judge: Michael B. Kaplan

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   George Sariotis
   1801 Pitney St
   Oakhurst, NJ 07755−2840
Social Security No.:
   xxx−xx−3126
Employer's Tax I.D. No.:


                       ORDER TO SHOW CAUSE WHY CASE SHOULD NOT BE
                  DISMISSED FOR FAILURE TO FILE DOCUMENTS OR EXTEND TIME

    The debtor filed a petition on December 2, 2019 but failed to file the following documents required by Fed. R.
Bankr. P. 1007:

        Summary of Assets/Liabilities and Stat Info − Individuals, Declaration About An Individuals Schedule,
Statement of Financial Affairs For Individuals, Atty Disclosure Statement, Statement of Your Current Monthly
Income(122B), Schedules A/B,C,D,E/F,G,H,I,J.

     It is hereby ORDERED that:

     The debtor or debtor's attorney must appear at a hearing before the Honorable Michael B. Kaplan on:

     Date: January 8, 2020
     Time: 02:00 PM
     Location: Courtroom 8, Clarkson S. Fisher, U.S. Courthouse, 402 E. State St., Trenton, NJ 08608−1507


     to show cause why the case should not be dismissed.
     If all required documents are filed with the Clerk before the hearing date, this Order to Show Cause will be
vacated and no appearance is required.
     Any motion or other objection that is filed will be considered a Motion for Extension of Time to File Schedules,
Statements, and Other Documents under Fed. R. Bankr. P. 1007(c), and will be scheduled by the court to be heard on
the same date and time as this Order to Show Cause.

      Unless all required documents are filed before the hearing date on this Order to Show Cause, you must appear
at the hearing. FAILURE TO APPEAR AT THE HEARING WILL RESULT IN DISMISSAL OF THE CASE.

IMPORTANT: Any document filed must be the most recent version of the applicable Official or Local Form.
Please check www.njb.uscourts.gov to find updated forms.




Dated: December 3, 2019
JAN: gan
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                        Certificate of Notice Page 2 of 3

                                   Michael B. Kaplan
                                   United States Bankruptcy Judge
        Case 19-32528-MBK               Doc 9 Filed 12/05/19 Entered 12/06/19 00:36:56                              Desc Imaged
                                            Certificate of Notice Page 3 of 3
                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 19-32528-MBK
George Sariotis                                                                                            Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0312-3                  User: admin                        Page 1 of 1                          Date Rcvd: Dec 03, 2019
                                      Form ID: oscmsdoc                  Total Noticed: 2

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 05, 2019.
db              George Sariotis,   1801 Pitney St,   Oakhurst, NJ 07755-2840

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov Dec 04 2019 00:18:52     United States Trustee,
                 Office of the United States Trustee,   1085 Raymond Blvd.,   One Newark Center,   Suite 2100,
                 Newark, NJ 07102-5235
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 05, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 3, 2019 at the address(es) listed below:
              Timothy P. Neumann   on behalf of Debtor George Sariotis timothy.neumann25@gmail.com,
               btassillo@aol.com;geoff.neumann@bnfsbankruptcy.com
              U.S. Trustee   USTPRegion03.NE.ECF@usdoj.gov
                                                                                            TOTAL: 2
